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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                  OXFORD DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

V.                                                 CRIMINAL ACTION NO. 3:18-CR-82-SA-RP

CEDRIC GORDON                                                                         DEFENDANT

                        ORDER SUSTAINING MOTION TO SUPPRESS

       The Defendant filed his Motion to Suppress [14] on September 18, 2018. The Defendant

seeks to suppress all physical evidence and statements obtained during the September 9, 2017,

traffic stop conducted by Deputy Forbert, including a firearm and controlled substances. After

considering the Motion [14], the evidence presented at the hearing on the Motion on October 10,

2018, and for the reasons set forth below, the Court grants the Defendant’s Motion to Suppress

[14] all evidence gathered as a consequence of the traffic stop.

                                        Factual Background

       On September 9, 2017, around 10:30 pm, the Defendant was driving South on Highway

51, near Stateline Road and passed Deputy Forbert. According to Deputy Forbert’s statement, he

noticed that the female passenger in the Defendant’s vehicle was not wearing a seatbelt but

attempted to put her seatbelt on after the vehicle passed Deputy Forbert. Deputy Forbert

subsequently followed the vehicle. In his narrative, Deputy Forbert maintains that he attempted to

read the vehicle’s license tag number but was unable to do so because the vehicle’s tag lights were

out. Deputy Forbert followed the Defendant’s vehicle for approximately two minutes, or one-half

mile, before initiating the traffic stop because the tag lights were out. After initiating the traffic

stop, Deputy Forbert approached the Defendant’s vehicle and claims he smelled marijuana coming

from the vehicle. Deputy Forbert ran the vehicle’s tag number and the Defendant’s criminal history
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came back positive. Deputy Forbert subsequently arrested the Defendant and the vehicle was

searched, revealing a firearm and controlled substances.

                                      Analysis and Discussion

       The Fourth Amendment protects individuals from unreasonable search and seizures.

Traffic stops are considered seizures within the meaning of the Fourth Amendment. U.S. v. Grant,

349 F.3d 192, 195 (5th Cir. 2003). The legality of a traffic stop is examined under the two-pronged

analysis set forth in Terry v. Ohio, 392 U.S. 1, 88 S. Ct. 1868, 20 L. Ed. 2d 889 (1968). This

standard is a two-pronged reasonable suspicion inquiry: 1) whether the officer’s action was

justified at its inception and 2) whether the search or seizure was reasonably related in scope to

the circumstances that justified the stop. Id. “Reasonable suspicion exists when the officer can

point to specific and articulable facts which, taken together with rational inferences from those

facts, reasonably warrant the search and seizure.” United States v. Lopez-Moreno, 420 F.3d 420,

430 (5th Cir. 2005); see also Florida v. J.L., 529 U.S. 266, 274, 120 S. Ct. 1375, 146 L. Ed. 2d

254 (2000) (“When a police officer testifies that a suspect aroused the officer’s suspicion . . . the

courts can weigh the officer’s credibility.”). “Reasonableness, in turn, is measured in objective

terms by examining the totality of the circumstances.” Ohio v. Robinette, 519 U.S. 33, 39, 117 S.

Ct. 417, 136 L. Ed. 2d 347 (1996).

       The Defendant specifically contests the first prong of the Terry-stop inquiry, arguing that

Deputy Forbert did not have reasonable suspicion to initiate the traffic stop at its inception.

According to Deputy Forbert’s narrative, he initiated the traffic stop because the vehicle’s tag

lights were not working, in violation of Mississippi Code Section 63-7-13. The Defendant contends

that the photos taken from the night of the traffic stop clearly show that the tag lights were working

and that Deputy Forbert had no reasonable suspicion to initiate the traffic stop.



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             At the hearing on this Motion [14], Deputy Forbert repeatedly contradicted the statements

contained in his narrative and provided implausible testimony regarding the reasonable suspicion

he had at the time of initiating the traffic stop. For example, Deputy Forbert’s narrative stated that

he initiated the traffic stop because the vehicle’s tag lights were not working, but when questioned

by the Court, Deputy Forbert admitted that the Defendant’s tag lights were working on the night

in question. Instead, Deputy Forbert explained that he initiated the traffic stop because the

Defendant’s license tag was not illuminated brightly enough.1 Deputy Forbert claimed that he was

unable to read the darkened tag from fifty feet away, as required under the statute. When

questioned further by the Court, Deputy Forbert maintained that the tag was too dimly lit to read

even forty feet away. However, Deputy Forbert eventually admitted at the hearing that he was able

to see that the tag lights were in fact working and that the tag was illuminated once he stopped the

vehicle.

             Notably, Deputy Forbert’s uncorroborated assertion that the tag was not illuminated is not

supported by any facts submitted by the Government and Deputy Forbert’s narrative makes no

mention of the tag being poorly illuminated. Given the photos and evidence presented, the Court

finds Deputy Forbert’s contradictory testimony on this matter unreliable. See Adams v. Williams,

407 U.S. 143, 158, 92 S. Ct. 1921, 32 L. Ed. 612 (1972) (“When we legitimated the conduct of the

officer in Terry we did so because of the substantial reliability of the information on which the

officer based his decision to act.”).

             The Government also argues that even if the Defendant’s tag lights were working properly,

Deputy Forbert had reasonable suspicion to initiate a traffic stop because the seatbelt violation


                                                       
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  A lamp must be “placed as to illuminate with a white light the rear registration plate and render it readable from a
distance of fifty (50) feet to the rear.” Miss. Code Ann. § 63-7-13. 

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alone was sufficient to justify the stop. At the suppression hearing, Deputy Forbert stated that he

intended to perform a traffic stop for a seatbelt violation, contrary to the narrative he prepared the

day of the traffic stop. Deputy Forbert maintained that he had reasonable suspicion to initiate the

traffic stop because he was able to see the passenger attempting to put her seatbelt on through the

tinted windows. However, when questioned by the Court, Deputy Forbert admitted that the

windows were darkly tinted and stated that he did not actually view the passenger without her

seatbelt on. Based on the evidence and testimony presented at the hearing on this matter, the Court

finds the evidence of a seatbelt violation unconvincing.

       The Court stresses that it has considered the totality of the described circumstances in this

case, with due deference to the experience of Deputy Forbert. Nonetheless, the Court does not find

Deputy Forbert’s testimony regarding his reasonable suspicion warranting the traffic stop credible.

Accordingly, the traffic stop on September 9, 2017, fails to survive the first prong of the Terry

analysis and amounts to a violation of the Defendant’s Fourth Amendment rights. Terry v. Ohio,

392 U.S. at 15.

                                             Conclusion

       For all of the reasons set forth above, the Defendant’s Motion to Suppress [14] is

GRANTED.

       It is SO ORDERED on this the 16th day of October, 2018.

                                                       /s/ Sharion Aycock
                                                      UNITED STATES DISTRICT JUDGE




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